Case 2:10-md-02179-CJB-DPC Document 1945-4 Filed 04/13/11 Page1of3

EXHIBIT D
Case 2:10-md-02179-CJB-DPC Document 1945-4 Filed 04/13/11 Page 2 of3
Case 2:10-md-02179-CJB-SS Document 62 Filed 08/24/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISTANA

MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on :
APRIL 20, 2010 : SECTION: J

JUDGE BARBIER
MAG. JUDGE SHUSHAN

THIS DOCUMENT RELATES TO: CIVIL ACTION
NUMBER 10-2771 ONLY

ORDER

A complaint seeking exoneration from or limitation of
liability was filed in the United States District Court for the
Southern District of Texas by Triton Asset Leasing, GMBH,
Transocean Holdings, L.L.C, Transocean Offshore Deepwater
Drilling, Inc., and Transocean Deepwater, Inc. as managing owners
and operators of the Modu Deepwater Horizon. On August 16, 2010,
the case was transferred to this Court pursuant to Supplemental
Rule F(9) and in the interests of efficiency and justice. It was
allotted to this section and assigned Civil Action Number 10-
2771.

Having determined that this limitation action is related to

MDL-2179, IT IS ORDERED that Civil Action Number 10-2771 is
Case 2:10-md-02179-CJB-DPC Document 1945-4 Filed 04/13/11 Page 3of3
Case 2:10-md-02179-CJB-SS Document 62 Filed 08/24/10 Page 2 of 2

hereby CONSOLIDATED with MDL-2179 until further order.
However, in order to effectively manage the docket sheet,

all answers and claims in the limitation action are to be filed

in the member case (10-2771). All other pleadings in the

limitation action are to be filed in the master case (10-MDL-

21739).

New Orleans, Louisiana, thi day of

a

UNITED STATEB DISTRICT JUDGE
